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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

CITY OF DALLAS,                   §
                                  §
     Plaintiff,                   §
v.                                §
                                  §
DELTA AIR LINES, INC.,            §         Civil Action No. 3:15-cv-02069-K
SOUTHWEST AIRLINES CO.,           §
VIRGIN AMERICA INC.,              §
AMERICAN AIRLINES, INC., and      §
UNITED AIRLINES, INC.,            §
                                  §
     Defendants.                  §
                                  §
                                  §
                                  §
                                  §


           SOUTHWEST’S BRIEF IN SUPPORT OF ITS MOTION FOR
                   PARTIAL SUMMARY JUDGMENT
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                                               INTRODUCTION

           This case is a dispute over the meaning of a single section of the Lease, 4.06, which

concerns the accommodation of new entrant airlines at Love Field. From the outset, however,

Delta has discussed everything but the terms of Section 4.06—an asset transfer agreement between

Southwest and United; withdrawn letters from the DOT; federal grant assurances; a competition

plan submitted to the federal government; and even a slot transaction regarding two airports

elsewhere in the country. Because the only cognizable dispute in this case concerns property rights

under the Lease, Southwest moves for summary judgment in its favor on Delta’s claims seeking

permission to act as a private attorney general for the DOT and regulate the operation of Love

Field. 1

           First, Delta’s claims based on Article 14 of the Lease (Claims I & IV) are preempted by

federal law. The Airline Deregulation Act (the “ADA”) expressly preempts them, and federal

aviation statutes impliedly preempt them. Second, those same claims fail as a matter of basic

contract principles. Delta has no standing to enforce provisions in Article 14 or to seek enforcement

of obligations derived from federal law outside the context of an agency administrative proceeding.

Third, Delta’s declaratory judgment claim attempting to void the sublease between Southwest and

United (the “Sublease”) (Claim II) fails as a matter of law. Delta has no substantive right of action

to seek any declaration related to the Sublease. Fourth, Delta’s tortious interference with

prospective business relations claim (Claim VII) fails as a matter of law and fact. The claim is

expressly preempted by the ADA and based on a non-cognizable theory of an undue delay in




1
  For reasons argued in prior briefing, as well as various reasons offered below, even Delta’s 4.06(F) claims fail. See
infra Section I.A (discussing how any contract claim brought by a third-party beneficiary and related to routes and
services would be expressly preempted under the ADA).
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contracting. Further, Delta has no evidence showing a genuine issue of material fact on key

elements of the claim. 2

                                                BACKGROUND

         Southwest has described the background of the case in prior briefing. Dkt. No. 364 (Mot.

for Partial Judgment on the Pleadings); Dkt. No. 381 (Resp. to Delta’s Mot. for Partial Summ. J.);

Dkt. No. 461 (Resp. to City’s Mot. for Partial Summ. J.). It fully incorporates those facts by

reference here.

         Southwest’s primary arguments in this Motion concern Delta’s attempts to enforce federal

law through state-law causes of action, most obviously Delta’s claim for breach of Article 14. In

that claim, titled Counterclaim/Cross-Claim IV, Delta alleges that Southwest has violated two

different provisions of Article 14: 3 Section 14.03, in which Southwest agreed that its use of the

airport (and its activities and operations there) would “comply with and conform to” certain types

of federal law; 4 and (2) Section 14.09, titled “Rights Reserved to the City,” that subjects the Lease




2
  Southwest is aware that Delta’s motion to convert Southwest’s 12(c) motion to a summary judgment motion is still
pending before the Court. As explained in Southwest’s response to that motion (Dkt. No. 411), Southwest does not
believe that conversion is necessary or appropriate. However, if the Court decides to convert Southwest’s 12(c)
motion, Southwest does not read Local Rule 56.2 as precluding the filing of this Motion because the Rule does not
prohibit a party having two summary judgment motions considered by the Court if one is “converted” rather than
filed. Should the Court disagree, Southwest respectfully requests leave to file this Motion, as the Local Rules allow.
Northern District courts permit the filing of an additional summary judgment “when it will not burden the court or the
parties, and such a motion may in fact save the time and expense of an unnecessary trial.” Bartolowits v. Wells Fargo
Bank, N.A., Civil Action No. 3:13-CV-4666-D, 2016 U.S. Dist. LEXIS 156080, at *6 (N.D. Tex. Nov. 10, 2016). As
to burden, two dispositive motions—a motion to dismiss or 12(c) motion and motion for summary judgment—is
standard in federal cases. As to trial considerations, disposing of Delta’s claims will certainly save time and expense.
What’s more, denying leave to Southwest would not serve the purposes behind Rule 56.2—“circumventing page
limits” and “preventing a second bite at the apple” after the court has ruled on an initial motion. Id. The combined
page count of Southwest’s 12(c) motion and this Motion does not exceed 50 pages. Nor is there a “second bite at the
apple.” The Court has not ruled on the 12(c) motion, and this Motion addresses different legal issues, with a different
procedural standard, than the 12(c) motion.
3
  Dkt. No. 346 ¶¶ 140, 142, and 149.
4
  App. 67–68 (Lease) § 14.03.
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to the federal grant assurances but only “insofar as they are applicable to the terms and provisions”

of the Lease. 5 Neither Delta nor new entrants are mentioned in any part of Article 14.

         Less clear is the legal basis for Delta’s declaratory judgment claim related to

accommodation, Counterclaim/Cross-Claim I. But it too rests on alleged violations of federal law

or policy (and Delta’s misconceptions of them). 6 Because Delta has no private right of action to

enforce any federal law or policy related to aviation, that claim, if viable at all, rests on rights

allegedly contained in Article 14 of the Lease.

         Finally, Southwest addresses several other claims by Delta—to declare the sublease

between Southwest and United void; and tortious interference with prospective business relations.

Rather than summarizing those claims for the Court here, Southwest describes the relevant sections

of Delta’s pleading as necessary below.

                                                    ARGUMENT

I.       Delta’s claims based on Article 14 of the Lease are preempted by federal law (Claims
         I & IV).

         It is undisputed that Delta has no private right of action to enforce any of the (misconstrued)

federal law that underlies several of its claims. 7 Delta has never seriously disputed this, 8 and the

case law unanimously supports Southwest’s position. See McCasland v. City of Castroville, 514

Fed. App’x 446, 448-49 (5th Cir. 2013). 9 Despite lacking an enforcement right, Delta attempts an


5
  App. 73 § 14.09.
6
  See, e.g., Dkt. No. 346 ¶ 104, 106.
7
  To be clear, Southwest also disputes that certain sources cited by Delta have the force of law at all, namely the DOT
letters and cherry-picked statements from the City’s Competition Plan.
8
  For example, at Delta’s request, a Northern District court recently held that several federal airline regulations did not
allow a private party to sue. Conservation Force v. Delta Air Lines, Inc., 190 F. Supp. 3d 606, 618 (N.D. Tex. 2016),
aff’d, 682 Fed. Appx. 310 (5th Cir. 2017).
9
  See also Northwest Airlines, Inc. v. County of Kent, Mich., 955 F.2d 1054, 1058 (6th Cir. 1992), aff’d, 510 U.S. 355
(1994) (“[C]ongress intended that there would be no private right of action under” the AAIA; instead, “[C]ongress
intended to establish an administrative enforcement scheme.”); Interface Group, Inc. v. Mass. Port Auth., 816 F.2d 9,
14-15 (1st Cir. 1987) (“We therefore agree with those courts that have held that [49 U.S.C. § 47107(a)(4)86] does not
create a private right of action.”).
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end-run: Shoehorning a federal right of action into a state-law breach of contract claim. But that

effort runs headlong into the Supremacy Clause of the U.S. Constitution, which provides that

federal law “shall be the supreme Law of the Land.” U.S. Const. art. VI, cl. 2. Preemption under

the Supremacy Clause comes in two forms, express or implied. Here, both forms bar Delta’s claims

that seek to enforce obligations derived from federal law.

       A.      Delta’s claims are expressly preempted by the Airline Deregulation Act.

       Congress enacted the Airline Deregulation Act (“ADA”) “to dismantle federal economic

regulation” of airlines. Hodges v. Delta Airlines, 44 F.3d 334, 335 (5th Cir. 1995). “To prevent the

states from frustrating the goals of deregulation by establishing or maintaining economic

regulations of their own,” Congress included an express preemption provision. Id. That provision

provides that a state “may not enact or enforce a law, regulation, or other provision having the

force and effect of law related to a price, route, or service of an air carrier . . . .” 49 U.S.C. §

41713(b)(1).

       ADA preemption applies not only to enactments of a state legislature but also state

common-law claims. See, e.g., Onoh v. Nw. Airlines, Inc., 613 F.3d 596, 599 (5th Cir. 2010).

“After all, courts adjudicating common-law claims can create just as much uncertainty and

inconsistency in a carefully calibrated federal regulatory framework as can state legislatures

enacting statutes or state agencies promulgating regulations.” Brown v. United Airlines, Inc., 720

F.3d 60, 66 (1st Cir. 2013). Further, “The Supreme Court has interpreted the preemptive effect of

the ADA broadly. Any state law, including state common law, having a connection with or

reference to airline prices, routes, or services is preempted unless the connection or reference is

too tenuous, remote, or peripheral.” Onoh, 613 F.3d at 599 (quoting Morales v. TWA, 504 U.S.

374, 384, 390 (1992)).


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            Thus, the first step of the inquiry here is whether Delta’s state common-law claims based

on Article 14 are “related to” an air carrier’s “price, route, or service.” Under the Supreme Court’s

expansive view, Delta’s claims plainly fall within the scope of ADA preemption, as they relate to

both Southwest’s and Delta’s routes and service. Delta repeatedly alleges that the federal grant

assurance and Competition Plan obligations concern “service” at Love Field. 10 And more

generally, the crux of all of Delta’s claims have “a connection with” the routes and services offered

by Southwest and Delta at Love Field; they cannot be adjudicated without looking at flight

schedules.

            That is not the end of the inquiry, however, because the Supreme Court has also carved out

a narrow breach-of-contract exception to the ADA’s broad preemptive effect for claims “seeking

recovery solely for the airline’s alleged breach of its own, self-imposed undertakings.” Am.

Airlines v. Wolens, 513 U.S. 219, 221 (1995). But this so-called Wolens exception has no

application to Delta’s claims.

            State contract claims “escape preemption only when courts are confined to the terms of the

parties’ agreement.” Smith v. Comair, Inc., 134 F.3d 254, 258 (4th Cir. 1998). Courts continue to

find contract claims preempted under the ADA when the claim “could only be adjudicated by

reference to law and policies external to the parties’ bargain” or “when the plaintiff sought to

enlarge the airline’s obligations and seek additional remedies not available under the contract’s

terms.” In re Am. Airlines, Inc., Nos. 3:04-MD-1627-D, 3:04-CV-0750-D, 3:04-CV-1148-D, 3:04-

CV-2564-D, 3:05-CV-1040-D, 2005 U.S. Dist. LEXIS 37739, at *10 (N.D. Tex. Dec. 7, 2005). In

other words, the ADA permits only “routine breach of contract claims.” Wolens, 513 U.S. at 233.




10
     See, e.g., Dkt. No. 346 ¶¶ 6, 27, 31.
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        First, by seeking exclusively equitable relief for its breach of contract claims, Delta seeks

to enlarge or enhance the terms of the Lease based on external laws or policies. 11 See, e.g.,

Deerskin Trading Post v. UPS of Am., 972 F. Supp. 665, 673 (N.D. Ga. 1997) (Jan. 29, 1997)

(“[T]he extraordinary award of injunctive relief would remove a contract claim from the realm of

routine breach of contract actions.’”) (citing Wolens); Barber Auto Sales, Inc. v. United Parcel

Servs., 494 F. Supp. 2d 1290, 1294 (N.D. Ala. 2007) (holding that claim for injunctive relief and

for equitable rescission of a contract is preempted “because it would constitute an enlargement or

enhancement of the parties’ bargain”). 12 “[T]he force of a court order requiring the performance

of terms of a contract provides an extra dimension that comes from a source external to the

contract, especially . . . where Plaintiff seeks specific performance.” Deerskin Trading Post, 972

F. Supp. at 675 (March 20, 1997). 13 Here, specific performance, and other equitable relief, is all

Delta seeks; 14 it has no claims for the “routine” compensatory relief that Wolens conceivably

allows. 15

        Delta seeks to enlarge or enhance the terms of the Lease in yet another way. Even if Delta’s

“incorporation by reference” argument had merit, the law incorporated provides no private right

of action. Thus, “[n]othing in the contract entitles [Delta] to the external remedy” of private

enforcement of the federal grant assurances or other sources of federal aviation law. Delta Airlines


11
   This particularly argument is not limited to Delta’s claims under Article 14. Delta’s claims under Section 4.06(F)
also seek only equitable relief.
12
   Although both of these cases apply the preemption provision related to trucking under the Federal Aviation
Administration Authorization Act of 1994, “[b]ecause the preemption provisions of the ADA and the FAAAA contain
similar language, courts that have interpreted the preemptive scope of the FAAAA have relied on cases that address
the preemptive scope of the ADA.” Barber Auto Sales, Inc. v. United Parcel Servs., 494 F. Supp. 2d 1290, 1293 (N.D.
Ala. 2007) (citing New Hampshire Motor Transport Ass’n v. Rowe, 448 F.3d 66, 80 (1st Cir. 2006)).
13
   Although this opinion has the same reporter number and pagination, it is separate from the prior Deerskin Trading
citation.
14
   See, e.g., Dkt. No. 346 ¶¶ 135–36 (Claim III); 151–52 (Claim IV).
15
   See also Travel All Over the World v. Kingdom of Saudi Arabia, 73 F.3d 1423, 1432 n.8 (7th Cir. 1996) (holding
that punitive damages represents an “enlargement or enhancement of the bargain” and thus “Wolens suggests that the
claim for punitive damages is preempted by the ADA, provided that it relates to airline rates, routes or services.”).
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v. Black, 116 S.W.3d 745, 755 (Tex. 2003). As the Texas Supreme Court emphasized—and Delta

itself argued in 2003—the federal laws allegedly “incorporated as part of the contract, provide the

procedure and remedy . . . and therefore preclude the additional remedies” that a plaintiff might

seek through a state law claim. Id.; see also Shrem v. Sw. Airlines Co., No. 15-cv-04567-HSG,

2017 U.S. Dist. LEXIS 62865, at *7 (N.D. Cal. Apr. 25, 2017) (currently on appeal to the Ninth

Circuit) (finding that “Plaintiffs’ breach of contract claim would thus create an end run around the

implied right of action doctrine” and “declin[ing] to apply the Wolens exception to permit private

enforcement” of the federal regulations at issue).

         Delta’s breach of contract claim under Article 14 (and related declaratory judgment

claim) 16 fall outside the Wolens exception in one final way: Delta’s claims seek to enlarge the

terms of the Lease because to determine the meaning of the grant assurances and Competition

Plan, the Court will necessarily have to look to external laws or policies.

         Delta alleges that Southwest has violated two different provisions of Article 14: 17 Section

14.03, in which Southwest agreed that its use of the airport would “comply with and conform to”

certain types of federal law; 18 and (2) Section 14.09, titled “Rights Reserved to the City,” which

subjects the Lease to the federal grant assurances but only “insofar as they are applicable to the

terms and provisions” of the Lease. 19

         With respect to Section 14.03, the Court cannot adjudicate that claim without looking

outside the contract to determine the existence and scope of the legal obligations to which



16
    To the extent Delta’s declaratory judgment claims are based on Article 14, the same analysis holds true. A
declaratory judgment is a procedural vehicle. In other words, Delta cannot obtain declaratory relief unless it has a
private right of action under federal law or rights under the Lease. Federal law provides no private right of action, and
it has no rights under the Lease for all the reasons given here and in Southwest’s prior briefing.
17
   Dkt. No. 346 ¶¶ 140, 142, and 149.
18
   App. 67–68 § 14.03.
19
   App. 73 § 14.09.
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Southwest has allegedly agreed to comply. The same is true of Section 14.09. At the outset, Delta

has not argued or shown why the grant assurances it references are “applicable to the terms and

provisions of the Lease” absent a directive from the federal government. 20

        But setting that aside—and assuming (for the sake of argument) that Delta is actually an

intended beneficiary of promises that make no mention of new entrants or Delta—the meaning

and scope of the grant assurances can only be adjudicated by reference to agency decisions and

policy guidance that exist outside the terms of the contract. See Shrem, 2017 U.S. Dist. LEXIS at

*6 (“Relying on Wolens, Plaintiffs argue that Defendant explicitly agreed that the contract was

subject to federal law and it failed to abide by the federal notice requirements. Under this

interpretation, the Court must look to law ‘external to’ the Contract of Carriage and determine

whether Defendant violated federal law.”). Indeed, Delta relies entirely on those sources in

pressing its claim: the DOT letters, a 1999 agency report, FAA orders, and a series of FAA

decisions. 21 Put differently, whether incorporated by reference or not, any contract claim that

requires a court to look to agency regulations and policy goes far outside the “privately ordered

obligations” contemplated by Wolens. 513 U.S. at 228.

        In short, Delta has disguised a “breach of federal law” claim as a breach of contract claim.

Even couched as a breach of contract, however, the claim is a far cry from the “routine” contract

claims that fall within the narrow Wolens exception. 513 U.S. at 233. As Delta argued in Hodges

v. Delta Airlines, 44 F.3d 334 (5th Cir. 1995), enforcement of this kind of state law claim “would

result in significant de facto regulation” of airlines by judicial fiat. Id. at 339.




20
   In fact, federal law, namely the Wright Amendment Reform Act of 2006 (“WARA”), Pub. L. No. 109-352, deems
the leases at Love Field to comply with the grant assurances (found in Title 49). See WARA § 5(d)(2). The amended
leases are “reasonably necessary” to implement the provisions of the Five-Party Agreement referenced in WARA. Id.
21
   See, e.g., Dkt. No. 346 Dkt. No. 346 ¶ 104, 106.
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        All of Delta’s breach of contract claims are expressly preempted for a similar reason. Judge

Fitzwater has found that any breach of contract claim premised on a third-party beneficiary theory

requires a court to look to state law and policy external to the terms of a contract. See In re Am.

Airlines, Inc., Nos. 3:04-MD-1627-D, 3:04-CV-0750-D, 3:04-CV-1148-D, 3:04-CV-2564-D,

3:05-CV-1040-D, 2005 U.S. Dist. LEXIS 37739, at *11 (N.D. Tex. Dec. 7, 2005) (“Plaintiffs can

recover from AAI for breach of contract only if they are third party beneficiaries of the American-

AAI contract. To determine whether plaintiffs are entitled to such status, the court must refer to

law external to that agreement, since it is state law that would allow plaintiffs to recover as third-

party beneficiaries.”)

        That reasoning encompasses all of Delta’s breach of contract claims, even those falling

under Section 4.06(F). See id. (“Because the court, in a breach of contract action, is confined to

the parties’ bargain, with no enlargement or enhancement based on state laws or policies external

to the agreement, the [third-party beneficiary] claim does not fall within the contractual exception

to ADA preemption.”) (cleaned up). District courts elsewhere have agreed with Judge Fitzwater’s

reasoning. See A.C.L. Computs. & Software, Inc. v. Fed. Express Corp., No. 15-cv-04202-HSG,

2016 U.S. Dist. LEXIS 29001, at *12 (N.D. Cal. Mar. 4, 2016) (“[A]pplying various state agency

or third-party beneficiary laws to airline contracts risks creating a state regulatory patchwork in

direct contravention of Congress’s intent when it enacted the ADA. Whether an airline could be

held liable for breach of contract by a . . . third-party beneficiary would depend entirely upon the

applicable state law. As such, Plaintiff’s breach of contract claim that arises under a . . . third-party

beneficiary theory derives from the application of state law.”) (citing Rowe v. N.H. Motor Transp.

Ass’n, 552 U.S. 364, 373 (2008)).




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       B.        Delta’s claims are impliedly preempted under the doctrine of conflict
                 preemption.

       Delta’s “breach of federal law” claims under Article 14 conflict with the regulatory and

enforcement authority Congress vested exclusively with the DOT, and thus those claims are

preempted for that reason too.

       Even in the absence of an express preemption provision, “a state or local law may be

required to give way to federal law under at least two circumstances: field and conflict

preemption.” Villas at Parkside Partners v. City of Farmers Branch, Tex., 726 F.3d 524, 528 (5th

Cir. 2013) (quoting Arizona v. United States, 567 U.S. 387, 399 (2012)). Although there is

normally a presumption against the implied preemption of state law causes of action, the

presumption “does not apply . . . when Congress legislates in an area of uniquely federal concern.”

In re Commonwealth’s Motion to Appoint Counsel Against or Directed to Def. Ass’n of Phila., 790

F.3d 457, 476 (3d Cir. 2015) (quoting Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 347

(2001).)

           Here, no presumption against preemption applies because of the uniquely federal nature

of airport regulation. In this arena, “federal concerns are preeminent” and the “DOT is charged

with representing those concerns.” Am. Airlines, Inc. v. DOT, 202 F.3d 788, 800 (5th Cir. 2000);

see also Brown v. United Airlines, Inc., 720 F.3d 60, 68 (1st Cir. 2013). (“In matters of air

transportation, the federal presence is both longstanding and pervasive; that field is simply not one

traditionally reserved to the states.”). Further, “[t]he Supreme Court has not suggested that the

presumption against preemption should be interposed” in the field of air transportation. Brown,

720 F.3d at 68.

       Delta’s Article 14 claims implicate this second form of implied preemption: conflict

preemption. Conflict preemption includes “those instances where the challenged state law stands

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as an obstacle to the accomplishment and execution of the full purposes and objectives of

Congress,” as well as “cases where compliance with both federal and state regulations is a physical

impossibility.” Arizona, 567 U.S. at 399. This first kind of conflict preemption is often referred to

as “obstacle” preemption; the second type is referred to as “impossibility” preemption. Southwest

addresses each in turn.

                       Delta’s claims based on state common law present an obstacle to
                       Congressional purposes and objectives regarding the regulation of
                       airports.

       “[C]onflict is imminent whenever two separate remedies are brought to bear on the same

activity.” Wis. Dep’t of Indus., Labor & Human Rels. v. Gould, Inc., 475 U.S. 282, 286 (1986).

“The Supreme Court’s preemption case law indicates that regulatory situations in which an agency

is required to strike a balance between competing statutory objectives lend themselves to a finding

of conflict preemption.” Farina v. Nokia, Inc., 625 F.3d 97, 123 (3d Cir. 2010).

       Here, Congress has delegated regulatory and enforcement authority over the federal grant

assurances to the DOT. If a private party “could sanction noncompliance” under a state-law

contract theory, the DOT “could be hindered in its ability to craft an appropriate [agency]

response.” In re Commonwealth’s Motion to Appoint Counsel, 790 F.3d at 477. Indeed, in dropping

the Part 16 proceeding, the DOT’s considered judgment is to take no action under the grant

assurances or the Competition Plan. Delta’s effort to revisit the DOT’s judgment through a state-

law claim disrupts the balance struck by the DOT between competing statutory objectives.

Allowing Delta to “attach consequences” to the City’s and the airline’s relationship with the DOT

would “exert an extraneous pull on the scheme established by Congress in a manner that conflicts

with federal objectives.” Id. at 477 (citing Buckman, 531 U.S. at 353).

       The grant assurances “are drawn not only to bar what they prohibit but to allow what they

permit.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 380 (2000). The potential
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“inconsistency of sanctions here”—the DOT deciding against further action but a court or jury

finding differently—“undermines the congressional calibration of force.” Id. “This is especially so

when a federal agency,” like the DOT here, “is afforded the discretion to apply those sanctions or

stay its hand.” In re Commonwealth's Motion to Appoint Counsel, 790 F.3d at 477.

        The Supreme Court’s analysis of conflict preemption in Buckman is instructive. There, the

plaintiff brought state-law fraud claims against a medical device manufacturer. The plaintiff

alleged that the manufacturer made fraudulent statements to the FDA. The manufacturer argued

conflict preemption. Buckman, 531 U.S. at 343. Reversing the appellate court, the Supreme Court

held that such claims are preempted by the FDA’s enabling statute. “The conflict stems from the

fact that the federal statutory scheme amply empowers the FDA to punish and deter fraud against

the Agency, and that this authority is used by the Agency to achieve a somewhat delicate balance

of statutory objectives.” Id. at 348.

        The same conflict—between federal authority and state common law—exists here. The

statutory scheme governing airports “amply empowers” the DOT to enforce compliance with the

grant assurances. See 49 U.S.C. 47107(g)(1)(A) (“To ensure compliance” with grant assurances,

“the Secretary of Transportation . . . shall prescribe requirements for [airport] sponsors that the

Secretary considers necessary.”); 14 C.F.R. 16.1 (authorizing FAA administrative enforcement

proceedings for violations of grant assurances). 22 Like the FDA, the DOT “thus has at its disposal

a variety of enforcement options that allow it to make a measured response” to suspected violations

of the grant assurances. Id. at 349. “This flexibility is a critical component of the statutory and



22
    Likewise, the competition plan statute grants DOT ample power to carry out its limited objectives: review
competition plans and their implementation. Indeed, 49 U.S.C. 40117(k) states that the DOT “shall review any plan .
. . to ensure it meets the requirements” and “shall review its implementation from time-to-time to ensure that each
covered airport successfully implements its plan.” This language does not indicate any room for private enforcement
via state common-law claims.
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regulatory framework under which the [DOT] pursues difficult (and often competing) objectives.”

Id.; see also 49 U.S.C. § 47101 (listing numerous and competing federal objectives for the

regulation of airports, including “safe operation,” minimizing noise, and self-sustaining financial

operations). “The balance sought by the Agency [will] be skewed” by allowing “breach of the

grant assurances” claims under state law. Buckman, 531 U.S. at 348.

       State-law contract claims are treated no differently than state tort claims in this regard.

Courts have repeatedly held that contract claims brought by an alleged third-party beneficiary are

preempted. See, e.g., Grochowski v. Phx. Constr., 318 F.3d 80, 86 (2d Cir. 2003); Strange v.

Flagstar Bank, FSB, No. 3:11-CV-2642-B, 2012 U.S. Dist. LEXIS 39066, at *11 (N.D. Tex. Mar.

22, 2012) . In addition to the considerations in Buckman, the lack of a private right of action under

federal law has proven decisive. In Grochowski, the plaintiffs sued to recover unpaid wages under

a breach of contract theory. Like Delta, they contended that they were third-party beneficiaries of

contracts that incorporated federal law. Specifically, they contended that because the general

conditions of a construction contract incorporated wage schedules from a federal statute, they

could sue for violations of those schedules. Id. 83-85.

       The Second Circuit disagreed. “At bottom, the plaintiffs’ state-law claims are indirect

attempts at privately enforcing” the federal statute. Id. at 86. “To allow a third-party private

contract action aimed at enforcing those wage schedules would be inconsistent with the underlying

purpose of the legislative scheme and would interfere with the implementation of that scheme to

the same extent as would a cause of action directly under the statute.” Id. (quoting Davis v. United

Air Lines, Inc., 575 F. Supp. 677, 680 (E.D.N.Y. 1983)).

       The Northern District of Texas is no different. In fact, a recent opinion held that even a

contracting party’s claim to enforce federal obligations incorporated into a contract is preempted


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unless those obligations are privately enforceable standing alone. See Flagstar Bank, 2012 U.S.

Dist. LEXIS 39066. Calling the plaintiff-homeowners’ theory “novel,” the court described a

contract that echoes Delta’s view of the Lease: an agreement “which contains a provision

obligating the Defendant to ‘comply with federal, state and local laws.’” Id. at *4. But despite this

alleged obligation, the court held that plaintiffs “could not allege a viable breach of contract claim

based on Defendant’s alleged noncompliance” with federal law. Id. at *11. “When a government

contract confirms a statutory obligation, a third-party private contract action to enforce that

obligation would be inconsistent with the legislative scheme to the same extent as would a cause

of action directly under the statute.” Id. at *10 (relying on Astra USA v. Santa Clara County, 563

U.S. 110, 118 (2011), and Grochowski). “Permitting a third-party suit to enforce the contractual

obligations—whether as a third-party beneficiary to the government contract or under a separate

contract between a party and a third party—would circumvent Congress’s decision not to permit

private enforcement of the statute.” Id.

        In Broder v. Cablevision Sys. Corp., 418 F.3d 187 (2d Cir. 2005), the Second Circuit

reached a similar result with respect to a cable television subscriber agreement. According to the

plaintiff, the agreement had been made “subject to applicable law” in much the same way that

Delta argues the Lease has been here. Id. at 198. Like the Flagstar Bank court, the Broder court

concluded that “the lack of a private right of action under [the federal statute] could not be avoided

via a breach of contract claim.” Id. Affirming dismissal of the claim, it stressed that Grochowski

“stands at least for the proposition that a federal court should not strain to find in a contract a state-




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law right of action for violation of a federal law under which no private right of action exists.” Id.

Likewise, the Court should not strain to find one here. 23

                           It is impossible to comply with both WARA and the result of a successful
                           state-law claim that Southwest breached the grant assurances or the
                           City’s Competition Plan

         Delta’s Article 14 claim is also preempted under the doctrine of “impossibility”

preemption. Impossibility preemption embraces the situation in which “it is impossible for a

private party to comply with both state and federal law.” In re Commonwealth’s Motion to Appoint

Counsel, 790 F.3d at 476.

         Here, the Wright Amendment Reform Act of 2006 (“WARA”), Pub. L. No. 109-352,

expressly precludes any interpretation of the grant assurances that modifies the terms of the Lease.

WARA § 5(e)(2)(B)(ii). But to find for Delta on its Article 14 claim would require modifying the

terms of Section 4.06(F), which is prohibited under WARA because such modification—to impose

a “use it or lose it forever” standard on preferential gate leases—is not done on a nationwide basis.

The result of Delta’s Article 14 claim thus creates an impossibility: comply with the result of

Delta’s state-law claim under Article 14 (which, according to Delta, means that Southwest must

forfeit its preferential lease rights to accommodate Delta permanently) or comply with WARA’s

prohibition on modifications to the Lease. It is just such an impossibility that the Supreme Court

warns preempts a state common- law claim. See Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 480




23
  Delta’s state-law claims also present an obstacle to the federal objectives set forth in the Wright Amendment Reform
Act of 2006 (“WARA”). Pub. L. No. 109-352. Like the federal aviation statutes, WARA provides no private right of
action. Further, WARA enshrines a 20-gate limit at Love Field, ensuring that access will be limited, and evidences an
intent that the grant assurances cannot be used to increase that number or modify leases to “allocate gate capacity to
new entrants.” § 5(a) & (e)(2)(B)(ii). State-law claims that seek to implement the grant assurances or the Competition
Plan in contravention of these purposes surely “stand[] as an obstacle to the accomplishment and execution of the full
purposes and objectives of Congress.” Crosby v. Nat'l Foreign Trade Council, 530 U.S. 363, 373 (2000). Delta’s
Article 14 claims should be preempted on this basis alone.
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(2013) (preempting a design defect claim under state common law where it would be impossible

to comply with both FDA regulations and the duties required under plaintiff’s claim).

         Delta’s Article 14 claim creates a further impossibility under WARA as well. WARA

specifically states that accommodation must occur, if at all, pursuant to the specific terms of

Section 4.06(F) of the Lease. WARA § 5(a) (“To accommodate new entrant air carriers, the city

of Dallas shall honor the scarce resource provision of the existing Love Field leases.”). A state-

law claim based on Article 14 that results in permanent accommodation thus creates an

impossibility. One cannot honor the language of Section 4.06(F)—that accommodations give way

to the preferential leaseholder’s scheduling priority—but also find that accommodation is required

to be permanent (or even indefinite) under the federal laws set forth in Article 14. 24

II.      Delta’s claims based on Article 14 fail as a matter of basic contract principles (Claims
         I & IV).

         A.       There is no clear and unequivocal statement of intent that any provision of
                  Article 14 benefits new entrants, let alone Delta.

         Like Judge Jones at the Fifth Circuit, Southwest strongly disputes Delta’s claim to third-

party beneficiary status with respect to enforcing the promises in the Lease’s accommodation

provision. See Dkt. No. 364. Delta’s lack of third-party beneficiary status is even clearer, however,

with respect to the alleged “promises” that Delta seeks to enforce in Article 14. 25

         That is so because a beneficiary only has the right to enforce promises made for its benefit,

not entire contracts. See, e.g., Restatement (2d) of Contracts, § 311 (1981) (“Where a promise



24
   There is one final impossibility. WARA’s Section 5(d)(1) says that the grant assurances cannot be used by the DOT
or FAA (either on their own behalf or on behalf of third parties) to take actions that are inconsistent with the Five
Party Agreement or to challenge the legality of that Agreement. Rewriting the Lease to reallocate gate space to new
entrants is inconsistent with the Five Party Agreement and this an impossibility.
25
   Further, most of Article 14’s provisions do not impose obligations on the parties to the Lease at all. They are simply
agreed statements of fact or policy regarding the federal government’s oversight over certain aspects of operations at
Love Field, such as flight safety. Delta cannot state a claim for breach of contract (or a declaratory judgment based on
the same substantive right) based on those provisions.
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creates rights in a beneficiary, the promisee may retain power to discharge or modify the

promisor’s duty.”); id. at § 305 (“A promise in a contract creates a duty in the promisor to any

intended beneficiary to perform the promise, and the intended beneficiary may enforce the duty.”)

(emphasis added). In short, there is no free-floating right as a third-party beneficiary to enforce

whatever provisions of the contract it pleases.

           Regardless of the analysis for 4.06(F), any promises contained in Article 14 are plainly not

for the benefit of new entrants or Delta, which under Texas law “must be clearly and fully spelled

out or enforcement by the third party must be denied.” Fleetwood Enterprises, Inc. v. Gaskamp,

280 F.3d 1069, 1075 (5th Cir. 2002). Neither new entrants nor Delta are mentioned in the

provisions cited by Delta. And Section 14.09, the alleged “incorporation” provision, expressly

states that it describes rights “expressly reserved to the City.” 26 By their terms, Article 14’s

provisions are intended to benefit a contracting party, the City, in navigating its relationship with

the DOT.

           B.      To the extent the Lease incorporates federal law, it also incorporates federal
                   law’s enforcement scheme, which is exclusively administrative.

           Congress placed authority for enforcement of the federal aviation statutes exclusively with

the DOT. See McCasland v. City of Castroville, 514 Fed. App’x 446, 448-49 (5th Cir. 2013). This

lack of a private right of action is just as much a part of federal law as the grant assurances

themselves. If the Lease incorporates the grant assurances and Competition Plan, it also

incorporates the lack of a private right of action enshrined in federal law. Delta cannot pick and

choose the federal law it contends has been incorporated. Accordingly, Delta has no contractual

remedy to privately enforce the grant assurances, whether federal law has been incorporated under

provisions of Article 14 or not.


26
     App. 73 § 14.09.
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        Southwest also joins in United’s Motion for Summary Judgment as to Delta’s Cross-

Claims (Dkt. Nos. 494 & 495) as to Delta’s claims based on Article 14 (Section II of United’s brief

and any related sections of the Background and accompanying Appendix) and incorporates those

arguments by reference.

III.    Delta’s declaratory judgment claim attempting to void the Sublease fails as a matter
        of law (Claim II).

        A declaratory judgment is a remedy not a cause of action. See Harris County Texas v.

MERSCORP Inc., 791 F.3d 545, 552–53 (5th Cir. 2015) (“[T]he Declaratory Judgment Act alone

does not create a federal cause of action.”). Thus, Delta must show a substantive right of action

that would allow it to void the Sublease. But the only source of law that it cites is the City’s

Competition Plan, a document it has no right to enforce. Delta has not pled it is a third-party

beneficiary of the Competition Plan (and Astra USA v. Santa Clara County, 563 U.S. 110 (2011),

precludes the argument). And the federal statutes requiring Competition Plans include no private

right of action. 27 In short, Delta has failed to state a cognizable declaratory judgment claim related

to the Sublease.

        Southwest also joins in United’s Motion for Summary Judgment as to Delta’s Cross-

Claims (Dkt. Nos. 494 & 495) as to Delta’s claims related to the Sublease (Section V of United’s

brief and any related sections of the Background and accompanying Appendix) and incorporates

those arguments by reference.




27
  Delta also appears to argue that the Competition Plan has been incorporated into the Lease. Section 14.09, however,
does not mention the competition plan statute. Further, a competition plan is a submission by an airport operator to
the federal government, not a source of federal law itself. The only federal obligation is to submit the plan for
government approval and allow DOT review. See 49 U.S.C. 40117(k).
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IV.      Delta’s tortious interference with prospective business relations claim fails as a matter
         of law (Claim VII).

         A.       Delta’s tortious interference claim is expressly preempted by the ADA.

         Southwest has already walked through the express preemption analysis above. Delta’s

tortious interference claim relates to the routes and services of an air carrier. Thus, the claim is

preempted by the ADA. See supra Section I.A. Further, as a tort claim, the Wolens exception does

not apply. See, e.g., Brown., 720 F.3d at 71 (“Tort law is not a privately ordered obligation, and

tortious interference claims therefore cannot trigger the Wolens exception.”). Both Delta and its

current counsel vigorously (and successfully) argued to another judge of this Court that claims for

tortious interference with contract are preempted by the ADA. See Conservation Force v. Delta

Air Lines, Inc., 190 F. Supp. 3d 606, 613–14 (N.D. Tex. 2016), aff’d, 682 Fed. Appx. 310 (5th Cir.

2017) (holding that an “effort to impose liability . . . under the guise of a tortious interference

claim[] runs afoul of the Airline Deregulation Act’s preemption clause.”). Southwest sees no

reason for the Court to disagree with Delta’s prior arguments.

         B.       Delta’s tortious interference claim is non-cognizable because Texas does not
                  recognize a tortious interference claim for a delayed business relationship.

         A key element of a tortious interference with prospective business relations claim is that

the allegedly tortious conduct “prevented the contracts from forming.” Tex. Disposal Sys. Landfill,

Inc. v. Waste Mgmt. Holdings, Inc., 219 S.W.3d 563, 590-91 (Tex. App.—Austin 2007, pet.

denied). Delta’s claim centers on conduct in September 2014. But the only business relation that

there was even arguably a “reasonable probability” Delta could have entered into with a third party

was the one it ultimately entered into in October 2014. 28 Although Southwest disputes that a forced



28
   Delta’s pleading alleges that the business relation was Delta’s request for accommodation of five flights. See Dkt.
No. 346 ¶ 168. To the extent Delta now argues that United would have entered into a voluntary, market transaction
with United, there was no reasonable probability of that happening. See infra Section V.A.
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accommodation is a “business relation” in the sense contemplated by this common law claim, the

City’s rescinded accommodation letter—only one step in the multi-step accommodation process—

only required accommodation through January 2015. 29 That is exactly the length of the gate use

license—a form of voluntary accommodation—that Delta obtained in October 2014. 30

           It is true that Delta would have preferred to have entered into an accommodation

arrangement in September 2014 (even though it did not want the space until the Wright

Amendment restrictions expired in October). But “[d]elays caused by competitor conduct are

inherent in the course of doing business, and enlarging the scope of tortious inference for

prospective relationships to include delays would run afoul of the policy encouraging competition

in the market.” Tex. Disposal Sys. Landfill, 219 S.W.3d at 590.

           Implicit in Delta’s claim “is an invitation to expand the doctrine of tortious interference

with prospective business relationships to make actionable conduct that results in delaying the

execution of a contract, even though the formation of a contract was not prevented.” Id. (emphasis

in original). However, “there is no supreme court authority holding that a cause of action for

tortious interference with prospective business relationships includes conduct that results only in

a delay of the execution of a contract.” Id. at 591. Here, there was not even a disruption in Delta

service at Love Field.

V.         Delta cannot show a genuine issue of material fact for key elements of its tortious
           interference claim (Claim VII).

           The elements of a claim for tortious interference with prospective business relations are as

follows:

                    (1) there was a reasonable probability that the plaintiff would have
                    entered into a business relationship with a third party; (2) the

29
     App. 151 (Letter from the City to United, dated September 19, 2014).
30
     App. 155, 157 (Gate Use License, dated October 10 2014).
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                  defendant either acted with a conscious desire to prevent the
                  relationship from occurring or knew the interference was certain or
                  substantially certain to occur as a result of the conduct; (3) the
                  defendant's conduct was independently tortious or unlawful; (4) the
                  interference proximately caused the plaintiff injury; and (5) the
                  plaintiff suffered actual damage or loss as a result.

Gil Ramirez Grp., L.L.C. v. Houston Indep. Sch. Dist., 786 F.3d 400, 417 (5th Cir. 2015) (quoting

Coinmach Corp. v. Aspenwood Apartment Corp., 417 S.W.3d 909, 923 (Tex. 2013)). Delta cannot

show a genuine issue of material fact for certain of these elements.

           A.     There is no evidence of a reasonable probability that Delta would have
                  entered into a business relationship with a third party.

           Delta has not shown a genuine issue of material fact on this element. The City had no gates

to lease at Love Field, and any accommodation arrangement would occur between the airlines.

Moreover, it was not reasonably probable that Delta would enter into a long-term sublease with

United in September 2014 (or even before then). Southwest was wrapping up a revised deal for

United’s gates after the inclusion of Newark slots delayed the first deal reached before Delta’s

June 2014 accommodation request. Finally, to the extent a forced accommodation can ever be the

kind of business relationship in the sense encompassed by this tort, there was no reasonable

probability in September 2014—the timeframe alleged in Delta’s pleading—that the City was

going to order a long-term accommodation. The City’s accommodation letter, rescinded upon

receipt of better scheduling information from United, only ever contemplated a short-term

arrangement, one that Delta ultimately received. 31

           Southwest also joins in United’s Motion for Summary Judgment as to Delta’s Cross-

Claims (Dkt. Nos. 495 & 495) as to this element (Section VI.A. of United’s brief and any related




31
     App. 151.
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sections of the Background and accompanying Appendix) and incorporates those arguments by

reference.

         B.       There is no evidence that Southwest committed an independently tortious or
                  unlawful act.

         Delta has not shown a genuine issue of material fact as to this element either. The Texas

Supreme Court has defined “independently tortious” acts as “conduct that would violate some

other recognized tort duty.” Wal-Mart Stores, Inc. v. Sturges, 52 S.W.3d 711, 713 (Tex. 2001).

“Conduct that is merely ‘sharp’ or unfair is not actionable and cannot be the basis for an action for

tortious interference with prospective relations . . . ” Id. at 726.

         As to Southwest, Delta has only alleged violations of the grant assurances and the

Competition Plan.32 But these could only ever be a non-tortious breach of contract. 33 By their

terms, the Competition Plan and grant assurances do not apply to Southwest. The only way they

could apply is through incorporation in the Lease. Although Southwest disputes Delta’s

incorporation arguments, at most, Delta has alleged breaches of the Lease rather than unlawful or

independently tortious conduct.

         To the extent Delta has properly alleged that Southwest “defrauded” the City—despite

failing to plead the elements of fraud with particularity—it has no evidence that Southwest’s

conduct would be actionable as fraud. Additionally, there is no evidence that Southwest intended

to deceive the City or had a duty to disclose the exact amount of its payment to United to the City.

Finally, the City knew that the payment required Hart Scott Rodino review (meaning it exceeded

$75 million), and the City has repeatedly denied that it was deceived. 34


32
   See, e.g., Dkt. No. 346 ¶ 170.
33
   To be clear, those alleged violations are, in reality, not independently actionable, even under a breach of contract
theory. But even if they were, the violations are not tortious or unlawful.
34
   App. 172–76 (Tr. at 97:1-101:16); App. 177–78 (Tr. at 145:22-146:5); App. 179 (Tr. at 162:12-22); App. 180 (Tr.
at 255:1-13); App. 169 (Tr. at 280:4-13).
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       Southwest also joins in United’s Motion for Summary Judgment as to Delta’s Cross-

Claims (Dkt. Nos. 494 & 495) as to this element (Section VI.B. of United’s brief and any related

sections of the Background and accompanying Appendix) and incorporates those arguments by

reference.

       C.      There is no evidence that Delta suffered any actual damage or loss.

        Southwest joins in United’s Motion for Summary Judgment as to Delta’s Cross-Claims

(Dkt. Nos. 494 & 495) as to this element (Section VI.C. of United’s brief and any related sections

of the Background and accompanying Appendix) and incorporates those arguments by reference.

Delta has designated no damages expert or offered any damages testimony in deposition. Further,

Delta was accommodated after September 2014. Any allegedly tortious conduct that occurred then

is therefore not actionable due to the lack of harm.

       In addition, Southwest notes that Delta has not alleged tortious interference with respect to

its request for eight additional flights in February 2015. It cannot now argue that any actual

damages or losses arise from that request.

                                         CONCLUSION

       For the foregoing reasons, Southwest requests the Court grant Southwest’s Motion for

Partial Summary Judgment.




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DATED: August 10, 2018                    Respectfully submitted


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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 10, 2018, the foregoing document was
served on all counsel of record through the Court’s ECF system.


                                          /s/ Russell Herman
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